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Page 1
1 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
DISTRICT OF DELAWARE
2
3
4 IN RE:
5
W.R. GRACE, et al., Chapter 11
6 01-01139 (JKF)
7 Debtors. See
8 C NN. f
; _
10
DEPOSITION OF: DR. RICHARD J. LEE
1i
12
13
14 DATE: June 6, 2003 :
Friday, 9:17 a.m.
15 - :
16 .
17 LOCATION: REED SMITH, LLP
435 Sixth Avenue :
18 Pittsburgh, PA 15219
412-288-3131
19
20 :
21 TAKEN BY: Claimants
22 i
23 :
REPORTED BY:: G. Donavich, RPR, CRR
24 Notary Public
AKF Reference No. 75810 :
25 :
i

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Okay. It looks like the analysis -- it appears

the analysis was done by PLM using the EPA
method of the determination of asbestos in bulk
building materials?

Correct.

Looks like, also, that the analyst measured
both the amount of asbestiform tremolite and
also the amount of cleavage fragments. Is that
correct?

In the coarse, yes.

Is this a weight percent measurement that was
done?

Yes.

Okay. And the results are reported on Page 4
for the asbestiform amphiboles. Is that
correct?

That's correct.

And the results were as high as 2.59 percent of
asbestiform amphiboles. Is that correct?
That's correct.

That's for an entire sample for all different
layers of the sample?

Correct.

In fact, the samples, top, middle, and bottom,

the amount, the total amount of asbestiform

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measurements and see.

Q. You expect to see some variation when you're
sampling for asbestos from one location to
another side by side. Correct?

A. There's natural variation, because you're
counting small quantities of fibers.

Q. You also are rendering opinions regarding dust

testing. Correct?

MR. RESTIVO: Do you have a --
THE WITNESS: Are you changing gears
here?

BY MR. TURKEWIT2Z:

Q. A little bit. I'm going to go through this
real quick.

A. Yeah. As a general proposition.

Q. Do you agree that dust testing can be used to
determine the presence or absence of asbestos
on a surface?

A. Sure,

Q. Do you agree that dust testing can also be used
to determine the source of the asbestos on that
surface?

A. At least in some cases.

In this case when you were dealing with Libby

amphiboles, you could determine that. Correct?

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Oo

Your laboratory has analyzed dust samples on

Page 245
Most likely.

Are you aware that EPA used the ASTM dust test
method for sampling dust at Libby?

Yep.

And you're aware that EPA used it as a
decision-making tool to determine whether or
not it was asbestos in dust in homes with ZAI?
You'd have to ask EPA that. I don't know that
answer.

Are you aware that they used the ASTM dust test
method in homes where Libby miners once worked
to determine the presence of asbestos in those
homes?

I don't know.

Are you aware that EPA used the indirect method
for air sampling?

Yeah, in some cases.

In what cases did they use the indirect method?
It's a little bit hard to tell. I don't know
exactly. The protocol said not to use it. i
And, Dr. Lee, you have performed dust testing,
have you not?

Sure. |

behalf of clients. Correct?

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1 Start counting stuff for a screening
2 method for between twenty-five and

3 twenty-five-to one aspect ratio, less than a

4 half micron in diameter in bundles, and you'li
5 get -- you'll develop a viable screening

6 procedure for asbestos.

7 MR. RESTIVO: That's all I have.

8 - 2. e

9 RE-EXAMINATION
10 - 5

il BY MR. TURKEWIT2:

12 Q. Dr. Lee, you were just talking about dust
13 testing that your company is doing. How many
14 dust samples have you analyzed in the last year
15 for building owners?
16 A. I don't know the answer.
17 Q. Hundreds?
18 A. Oh, I would think so, yeah.
19 Q. You would think so?
20 A. Yes.
21 Q. Thousands?
22 A. T doubt thousands, but --
23 Q. Hundreds?
24 A. Yes.
Q.

— —
See ET Se ne ee Ee ee Shae ee

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Now, the cases that Mr. Restivo was talking

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